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CHRISTOPHER J. KINSELLA* IN REPLY REFER TO FILE NO,

CHRISTINA M. DIPALO*

OF COUNSEL,
ee October 9, 2015

Via Electronic Filing Only

Honorable Michael A. Hammer, U.S.M.J.

United States District Court

District of New Jersey

Martin Luther King, Jr. Federal Building &
U.S. Courthouse

50 Walnut Street

Newark, NJ 07102

Re: Wendell Kirkland and Anthony Kirkland v. City of Linden, et al.
Civil Action No.: 2:12-cv-01196

Dear Judge Hammer:

On October 9, 2015, I conferred with plaintiff's counsel, Michael Rubas, in anticipation of
the settlement conference before the Court on October 14, 2015. Mr. Rubas has advised me that
he is on trial before Judge Cronin in Essex County in the matter of State of New Jersey v. Laquan
Dwight. Mr. Rubas further advises me that that trial will preclude him from appearing at the
settlement conference on October 14, 2015, and therefore all counsel are requesting an
adjournment of the same.

While speaking with Mr. Rubas we were discussing the scheduling order and we would
like to request a 60 day extension to complete fact discovery in this case. There is some
disagreement among counsel in regard to written discovery requests which we hope to resolve and
then take depositions of the necessary parties. I would appreciate Your Chambers getting back to
me as to the adjournment request at your earliest convenience.

Respectfully submitted,
LaCorte, Bundy, Varady & Kinsella

s/Robert F. Varady

Robert F. Varady
RFV/jc
ee: Michael P. Rubas, Esq. (Via Electronic Filing Only)
David A, Schwartz, Esq. (Via Electronic Filing Only)
